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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

CAROLYN HAMPTON,

       Plaintiff,

v.

MEDICREDIT, INC.,

      Defendant.
______________________/

                                          COMPLAINT
                                         JURY DEMAND

      1.       Plaintiff, Carolyn Hampton, alleges violations of the Telephone Consumer

Protection Act, 47 U.S.C §227, et seq. (“TCPA”) and the Florida Consumer Collection Practices

Act, §559 et seq. (“FCCPA”).

                                 JURISDICTION AND VENUE

      2.       The Court has jurisdiction under 28 U.S.C. §1331. Supplemental jurisdiction

exists for the state law claim pursuant to 28 U.S.C. §1367.

      3.       Venue in this District is proper because Plaintiff resides here and Defendant

placed telephone calls into this District.

                                             PARTIES

      4.       Plaintiff, Carolyn Hampton (hereinafter, “Plaintiff”), is a natural person, and

citizen of the State of Florida, residing in Pinellas County, Florida.

      5.       Plaintiff is the regular user and carrier of the cellular telephone number at issue,

(727) *** - 6394, and was the “called party” and recipient of the Defendant’s hereinafter

described calls. See Soppet v. Enhanced Recovery Co., LLC, 670 F.3d 637, 643 (7th Cir. 2012),




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reh’g denied (May 25, 2012); see also Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

Cir. 2014).

      6.       Plaintiff is a “consumer” as defined by Florida Statute §559.55(8).

      7.       The debt that is the subject matter of this complaint is a “consumer debt” as

defined by Florida Statute §559.55(6).

      8.       Defendant, Medicredit, Inc. (hereinafter “Defendant”), is a Delaware corporation

with its principle place of business located at 3620 I-70 Drive, Suite C, Columbia, MO 65201.

      9.       Defendant is registered with the Florida Department of State Division of

Corporations as a foreign corporation. Defendant’s registered agent for service of process is CT

Corporation System, 1200 South Pine Island Road, Plantation, FL 33324.

      10.      Defendant is a “creditor” and/or “person” as defined by the FCCPA.

                  FACTUAL ALLEGATIONS SPECIFIC TO PLAINTIFF

      11.      Defendant attempted to collect an alleged debt arising from transactions

primarily incurred for personal, family or household purposes from Plaintiff. Specifically,

Defendant attempted to collect an alleged debt from Plaintiff concerning a medical debt.

      12.      As described herein, Defendant intentionally harassed and abused Plaintiff on

numerous occasions by calling Plaintiffs’ cellular telephone several times per day and on back-

to-back days, with such frequency as can reasonably be expected to harass, in an effort to

collect a consumer debt.

      13.      At all times relevant to this action, Plaintiff received between one to three calls

per day to her cellular telephone from Defendant in an effort to collect the alleged debt at issue.




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      14.      Upon answering many of these calls, Plaintiff was greeted either by an

automated machine-operated voice message or a noticeable period of “dead air” while the

caller’s telephone system attempted to connect to a live telephone employee.

      15.      Defendant’s method of contacting Plaintiff is indicative of its ability to dial

numbers without any human intervention, which the FCC has opined is the hallmark of an

automatic telephone dialing system. See In the Matter of Rules & Regulations Implementing the

Telephone Consumer Protection Act of 2008, 23 F.C.C.R. 559, 565-66 (2008); see also In the

Matter of Rules & Regulations Implementing the Telephone Consumer Protection Act of 1991,

18 F.C.C.R. 14014, 14091-92 (2003).

      16.      In or about 2016, Plaintiff informed the agent/representative of Defendant that

they were calling her cellular phone and demanded that Defendant cease placing calls to her

aforementioned cellular telephone number.

      17.      During the 2016 conversation with Defendant’s agent/representative, Plaintiff

unequivocally revoked any express consent Defendant may have had for placement of telephone

calls to Plaintiff’s cellular telephone number by the use of an automatic telephone dialing

system or a pre-recorded or artificial voice.

      18.      Each and every call subsequent to the 2016 conversation that Defendant made to

the Plaintiff’s cellular telephone number was done so without the “express consent” of the

Plaintiff.

      19.      Each and every call subsequent to the 2016 conversation that Defendant made to

the Plaintiff’s cellular telephone number was knowing and willful.




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      20.      Despite actual knowledge of their wrongdoing, Defendant continued the

campaign of abuse, calling the Plaintiff despite Plaintiff having revoked any express consent

Defendant may have had to call her cellular telephone number.

      21.      Plaintiff’s damages were caused by and directly related to Defendant’s attempts

to collect a debt by using an automatic telephone dialing system or predictive dialer to call

Plaintiff’s cellular telephone.

      22.      From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion upon

her right of seclusion.

      23.      From each and every call without express consent placed by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of the occupation of her cellular telephone

line and cellular phone by unwelcome calls, making the phone unavailable for legitimate callers

or outgoing calls while the phone was ringing from Defendant’s call.

      24.      From each and every call placed without express consent by Defendant to

Plaintiff’s cell phone, Plaintiff suffered the injury of unnecessary expenditure of her time.

Plaintiff had to waste her time dealing with missed call notifications and call logs that reflect the

unwanted calls.

      25.      Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone was an injury in the form of a nuisance and annoyance to the Plaintiff. For calls that

were answered, Plaintiff had to go to the unnecessary trouble of answering them. For

unanswered calls, Plaintiff had to deal with missed call notifications and call logs that reflected

the unwanted calls.




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      26.      Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of unnecessary expenditure of Plaintiff’s cell phone’s battery

power.

      27.      Each and every call placed without express consent by Defendant to Plaintiff’s

cell phone resulted in the injury of a trespass to Plaintiff’s chattel, namely her cellular phone

and her cellular phone services.

      28.      As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by stress, anxiety, nervousness,

embarrassment, distress and aggravation.

      29.      Defendant’s corporate policy is structured so as to continue to call individuals

like Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

      30.      Defendant’s corporate policy provided no means for Plaintiff to have Plaintiff’s

number removed from Defendant’s call list.

      31.      Defendant has numerous complaints against it across the country asserting that

its automatic telephone dialing system continues to call despite being requested to stop.

      32.      None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(a).

      33.      Defendant willfully or knowingly violated the TCPA.

                             COUNT I
  VIOLATIONS OF THE FLORIDA CONSUMER COLLECTION PRACTICES ACT

      34.      Plaintiff incorporates Paragraphs 1 through 33 herein.

      35.      At all times relevant to this action, Defendant is subject to and must abide by the

law of Florida, including §559.72, Florida Statutes.

      36.      Defendant engaged in an act or omission prohibited under §559.72(7), Florida


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Statutes, by willfully engaging in conduct, which can reasonably be expected to harass or abuse

the Plaintiff. Specifically, Defendant called Plaintiff several times a day and on back-to-back

days in an effort to collect a consumer debt.

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

against Defendant for:

                     a) Statutory Damages;

                     b) Actual Damages;

                     c) Punitive Damages;

                     d) Attorney’s fees, litigation expenses and costs of suit; and

                     e) Such other or further relief as the Court deems proper.

                               COUNT II
        VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

      37.      Plaintiff incorporates Paragraphs 1 through 33 herein.

      38.      Defendant willfully violated the TCPA with respect to Plaintiff, specifically for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that Plaintiff did not wish to receive any telephone communication from Defendant,

and demanded for the calls to stop.

      39.      Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

cellular telephone using an automatic telephone dialing system or prerecorded or artificial voice

without Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

      40.      Defendant violated the TCPA with respect to telephone calls made to Plaintiff’s

cellular telephone with an automatic dialing system without consent.




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    WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

 against Defendant for:

                  a) $500.00 dollars in statutory damages for each violation of the TCPA

                      over the last four years;

                  b) $1,500.00 dollars in statutory damages for each knowing or willful

                      violation of the TCPA over the last four years;

                  c) a declaration that Defendant’s calls violate the TCPA;

                  d) a permanent injunction prohibiting Defendant from placing non-

                      emergency calls to the cellular telephone of Plaintiff using an

                      automatic telephone dialing system or pre- recorded or artificial voice;

                  e) litigation expenses and costs of the instant lawsuit; and

                  f) such further relief as the Court may deem appropriate.

                                        JURY DEMAND
     Plaintiff demands trial by jury.

                                                  Respectfully submitted,

                                                  By:/s/ Christopher Legg
                                                  Christopher Legg, Esq.
                                                  Florida Bar No. 44460

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